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4                                  UNITED STATES DISTRICT COURT

5                                  EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                    No.   2:11-cr-00458-GEB
8                          Plaintiff,
9               v.                                ORDER ON MOTIONS IN LIMINE
10   BUENA MARSHALL, and DEBORAH
     LOUDERMILK,
11
                           Defendants.
12

13

14                       The government and Defendant Loudermilk each move for

15   pretrial in limine rulings. Each motion is addressed below.

16              A.       The Government’s Motions

17                       Motion in Limine No. 1

18                       “The government [seeks] to bar the admission of any

19   evidence or testimony regarding the acquittal of four defendants

20   .      .        .    in   a    separate   mortgage    fraud    scheme   .   .   .

21   case . . . [captioned] United States v. Charikov, 2:12-CR-003-LKK

22   (E.D. Cal. Aug. 2014).” (Gov‟t Mot. Limine (“MIL”) No. 1 1:18-21,

23   ECF No. 143.) The government argues:

24                       Testimony or argument regarding the Charikov
                         trial is irrelevant and highly prejudicial,
25                       and should therefore be excluded under
                         Federal Rules of Evidence [(“Rules”)] 401,
26                       402, and 403. It is also inadmissible
                         hearsay.
27
                              The defendants in the Charikov case were
28                       charged and tried for fraud related to the
                                               1
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1               purchase of two properties. The case involved
                different defendants, different properties,
2               and different facts. Thus, the Charikov jury
                verdict has no relevance to this trial or
3               these    defendants    and    is    therefore
                inadmissible. Further, the jury verdict in
4               the Charikov case is hearsay: Rule 803(22)
                allows admission of judgments of conviction,
5               not judgments of acquittal.

6    (Id. at 1:21-26 (citations omitted).)

7               This in limine motion is unopposed and is GRANTED.

8               Motion in Limine No. 2(a)

9                The government “asks the Court to bar the defendants

10   from presenting evidence or eliciting testimony regarding lender

11   negligence or fraud.” (Gov‟t MIL No. 2, 2:4-6, ECF No. 145.) The

12   government argues:

13                   At minimum, the defendants should be
                prohibited   from   putting   on   a   lender
14              negligence or fraud defense and should be
                limited to challenging lender representatives
15              with respect to the issues to which they
                testify.
16
                . . . .
17
                     In order to prove the mail . . . fraud
18              charges, the government must prove that the
                statements or omissions by the defendants
19              were material. Materiality is objectively
                measured as whether the statements had a
20              natural tendency to influence, or were
                capable of influencing, a person to part with
21              money or property.

22              . . . .

23                   The relevant question is the objective
                tendency or capability of a false statement
24              to   influence  a   decision,  and not  the
                subjective   or   actual  reliance on  that
25              statement by the victim. Reliance is simply
                not an aspect of the materiality element in
26              mail-fraud prosecutions. . . .
27                   Because it does not go to an element, a
                “blame the lender” defense is really just a
28              nullification defense. Whether a mortgage
                                          2
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1                lender acted prudently is irrelevant to
                 whether the defendants acted with intent to
2                defraud.

3    (Id. at 2:8-10; 4:1-6:15 (internal quotation marks, citations,

4    and brackets omitted).) The government further argues:

5                     Alleged fraud by the victim lending
                 institutions is also not a defense to [mail]
6                fraud charges. . . .

7                     Like with negligence, the focus on the
                 materiality element must be on the maker of
8                the statement, and whether the statements are
                 capable of influencing the person to whom
9                they are made, not on the actions of one
                 specific victim. If the statements are ones
10               that a reasonable lender would consider
                 important, then they are material, regardless
11               of what any individual lender may have done
                 or not done. . . .
12
                      The defendants cannot escape liability
13               by arguing that agents of the lender were in
                 on the scheme. Courts have affirmed bank
14               fraud convictions even when assuming that
                 bank representatives themselves knowingly
15               participated in the fraud.

16   (Id. at 8:8-13 (citations omitted).)

17               Defendant Marshall indicates the Government‟s position

18   is correct and states she “will not assert a defense of „lender

19   fraud‟ or „lender negligence.‟” (Marshall‟s Conditional Opp‟n to

20   Gov‟t   MILs   2   &     3    (“Marshall    Resp.”)    1:18-21,    ECF   No.   147.)

21   However, she states she “will argue about whether or not the

22   statements were material,” and “will point out as part of the

23   defense that the credits back and payments to the buyer were

24   disclosed   to     the       lender   and   seller.”   (Id.   at   1:22-2:1.)    The

25   government states in its reply that it “has no objection to such

26   lines of questioning or argument.” (Gov‟t Reply 2:12-13, ECF No.

27   157.)

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1                  Defendant Loudermilk “objects to the motion insofar as

2    it seeks to exclude . . . evidence . . . of lender fraud in the

3    form of lender knowledge of false statements in the relevant loan

4    applications.”       (Loudermilk‟s     Resp.    to   Gov‟t    MILs   (“Loudermilk

5    Resp.”) 2:19-23, ECF No. 149.) Defendant Loudermilk contends:

6                       For the government to prove that [she]
                   committed mail fraud with respect to these
7                  transactions,   it   must    prove   [as   an
                   element] . . . that . . . she “acted with the
8                  intent to defraud; that is, the intent to
                   deceive or cheat”.
9
                        Evidence   which   indicates   that   the
10                 lenders[‟ agents] involved in these two
                   transactions knew that false information was
11                 presented to them for purposes of securing
                   the loans involved and accepted and acted on
12                 the loan applications with that knowledge is
                   relevant to the issue of whether or not Miss
13                 Loudermilk intended to “deceive or cheat” the
                   lenders. A person who knows that a false
14                 statement is being made to him cannot be
                   “deceived” or “cheated” by that statement.
15
                        Therefore, to the extent, if any, that
16                 Miss Loudermilk knew of false statements
                   being made in the loan applications, she is
17                 entitled to present to the jury, either
                   directly or through cross-examination of
18                 government   witnesses,  evidence that   the
                   lenders[‟ agents] involved in these two
19                 transactions knew that the loan applications
                   contained false information.
20
21   (Id. 2:27-3:16 (citation omitted).)

22                 Defendant      Loudermilk‟s      argument      is   tantamount    to

23   presenting      a   lender     fraud   defense.      However,     she   cites   no

24   authority in support of this defense. Further, her argument does

25   not address the bank fraud cases1 cited by the government which

26   1
           “[T]he bank fraud statute directly tracks or is parallel to the mail and
     wire fraud statutes.” United States v. Mason, 902 F.2d 1434, 1441 (9th Cir.
27   1990), overruled on other grounds by Dixon v. United States, 548 U.S. 1
     (2006). “The legislative history clearly establishes that the bank fraud
28   statute was „modeled‟ on the mail and wire fraud statute.” Id. “In enacting
                                             4
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1    support its contention that “defendants cannot escape liability

2    by arguing that agents of the lender were in on the scheme.”

3    (Gov‟t    MIL   No.   2   9:1-2;   see       id.    at    9:2-13.)    “[I]t   is    the

4    financial institution itself—not its officers or agents—that is

5    the victim of the fraud . . . .” United States v. Molinaro, 11

6    F.3d 853, 857 (9th Cir. 1993).

7                “[T]he jury [will be] tasked with determining whether

8    [Defendant Loudermilk] acted with intent to defraud, not whether

9    [each] lender[‟]s [agent] knew about the fraud.” United States v.

10   Holzendorf, 576 F. App‟x 932, 936 (11th Cir. 2014) (affirming

11   district court‟s refusal to instruct the jury on “whether the

12   lenders knew about the fraud.”); see also United States v. Svete,

13   556 F.3d 1157, 1165 (11th Cir. 2009) (“[T]he focus of the mail

14   fraud statute . . . is on the violator[; hence,] . . . the

15   purpose    of   the   element   of   materiality           is   to   ensure   that   a

16   defendant actually intended to create a scheme to defraud.”).

17   Accordingly, Defendant Loudermilk‟s conclusory argument that a

18   lender‟s        agent‟s      knowledge             concerning        the      alleged

19   misrepresentations is “relevant to the issue of whether or not

20   [she] intended to „deceive or cheat‟ the lenders” concerns an
21   issue that has a tendency to confuse the jury; and it has not

22   been shown that the referenced evidence has probative value on

23   the indicted offenses.

24               Therefore, this portion of the motion is granted.

25               Motion in Limine No. 2(b)

26               “[T]he    government     [also]        asks   the   Court   to    bar   the
27
     the bank fraud statute, Congress also took into account the body of case law
28   accompanying the mail and wire fraud statutes.” Id.
                                              5
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1    admission     of      evidence     concerning         (1)    Department           of    Justice

2    settlements with banking institutions, and (2) the securitization

3    of   mortgage      backed    securities,       in     general,      as       irrelevant       and

4    unfairly prejudicial under [Rules] 401, 402 and 403.” (Id. at

5    2:11-14.) The government contends: “[t]his case is about whether

6    the defendants schemed and mailed, and should not be turned into

7    a referendum on banks‟ lending practices.” (Id. at 2:11-15.)

8                This      portion      of   the    government‟s         second         in     limine

9    motion is unopposed and is GRANTED. (See Loudermilk Resp. 3:18-20

10   (“Miss Loudermilk concedes that evidence of Department of Justice

11   settlements        with   banking       institutions         and    securitization              of

12   mortgage     backed         securities         is     irrelevant           and         therefore

13   inadmissible.”).)

14               Motion in Limine No. 3

15               “The       government       asks        the     Court     to      prohibit        the

16   defendants      and    their     counsel       from       referring      .    .    .     to   the

17   potential penalties in this case, including statutory maximums,

18   statutory    minimums,       and    sentencing        ranges.”      (Gov‟t        MIL     No.    3

19   1:18-20, ECF No. 144.) The government argues:

20
21               It is well established that when a jury has
                 no   sentencing   function,  it   should   be
22               admonished to reach its verdict without
                 regard to what sentence might be imposed.
23               This principle reflects a basic division of
                 labor in our legal system between judge and
24               jury. The jury‟s function is to find the
                 facts and to decide whether, on those facts,
25               the defendant is guilty of the crime charged.
                 The judge, by contrast, imposes sentence on
26               the defendant after the jury has arrived at a
                 guilty verdict. Thus, information regarding
27               potential penalties, statutory maximums or
                 minimums, or sentencing ranges is therefore
28               irrelevant to the jury‟s task. Moreover,
                                       6
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1                  providing   jurors    sentencing   information
                   invites them to ponder matters that are not
2                  within their province, distracts them from
                   their   fact-finding   responsibilities,   and
3                  creates a strong possibility of confusion.
                   Such   arguments   or   comments   should   be
4                  prohibited.

5    (Id.     at   1:21-2:6     (internal        quotation        marks   and     citations

6    omitted).)

7                  Defendants Loudermilk and Marshall do not oppose this

8    motion to the extent it concerns only the potential penalties

9    that may be imposed against them if they are convicted of the

10   charges in this case. (Loudermilk Resp. 4:5-8 (“Inasmuch as this

11   motion addresses only potential penalties which might be imposed

12   on Miss Loudermilk in the event of her conviction . . . she

13   concedes that it is well-taken.”); Marshall Resp. 2:3-5 (“The

14   defendant     will   not   introduce       evidence     of    punishment     for       this

15   crime    as   it   relates    to    this    defendant,       as   requested       by   the

16   government.”).) However, each Defendant opposes the motion to the

17   extent it is construed more broadly to preclude cross-examining

18   “cooperating       witnesses       who     are   co     defendants        about    their

19   potential      criminal      exposure      and    their      bias    in     testifying

20   favorably for the government.” (Marshall Resp. 3:15-18; see also

21   Loudermilk Resp. 4:9-18.)

22                 The Court construes this in limine motion in the narrow

23   manner that is unopposed by each Defendant. Accordingly, it is

24   GRANTED.

25           B.    Defendant Loudermilk’s Motions

26                 Motion in Limine No. 1

27                 Defendant Loudermilk moves under Rule 615 “to exclude

28   from    the   courtroom      all   witnesses      not     currently       testifying.”
                                                 7
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1    (Loudermilk MILs 2:6-8, ECF No. 146.)

2               This    motion     is   unopposed     and    is     GRANTED      with   the

3    understanding     that   it   exempts    from    exclusion       the    individuals

4    Defendant Loudermilk identifies in her Trial Brief. (Loudermilk

5    Trial Brief 2:18-22, ECF No. 161.) However, counsel are expected

6    inform witnesses about this exclusion.

7               Motion in Limine No. 2

8               Defendant     Loudermilk      moves    under      Rule    609(a)(2)     “to

9    permit Miss Loudermilk to impeach the credibility of former co-

10   defendants and now prosecution witnesses with their convictions

11   of felony offenses in this case and, regarding potential witness

12   Jake Weathers, a related and similar case.” (Id. at 2:14-18.)

13              The extent of this requested ruling is unclear since

14   the referenced impeachment issues routinely occur in criminal

15   trials. Defendant Loudermilk has not shown that a controversy

16   exists concerning the referenced evidence and that an in limine

17   ruling is necessary.

18              Motion in Limine No. 3

19              Defendant        Loudermilk     also        seeks        “[t]o    exclude

20   documentary evidence expected to be offered by the prosecution on
21   the ground that it is irrelevant as to the charges against Miss

22   Loudermilk; or, in the alternative, to restrict the admissibility

23   thereof and to instruct the jury accordingly, pursuant to [Rule]

24   105.” (Id. at 5:1-5.) Defendant Loudermilk states, inter alia:

25                   Defendant    Loudermilk  has   stipulated
                (Document 142) that the documents listed in
26              the stipulation are true and correct copies
                of business records and that they are
27              admissible     in     this   trial,     unless
                objectionable on grounds of relevance or
28              pursuant to . . . Rule 403.
                                       8
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1                    Miss   Loudermilk   also    concedes  that
                [certain] documents listed in the stipulation
2               are relevant and admissible with respect to
                the    two    counts   in     which    she   is
3               charged . . . .

4               . . . .

5                    With respect to all other documents
                listed in the stipulation, Miss Loudermilk
6               objects to their admission on the dual
                grounds that they are irrelevant . . . and
7               that the probative value of these records
                with   respect    to   Miss   Loudermilk   is
8               substantially   outweighed   by  the   unfair
                prejudice and misleading effect of the
9               evidence on the jury . . . .

10   (Id. at 5:7-6:15.)

11              The government rejoins that “[t]he ruling requested by

12   the defendant is premature and, for the time being, should be

13   denied.” (Gov‟t Resp. Loudermilk MILs 1:20-21, ECF No. 148.) The

14   government contends:

15              In her motion, the defendant failed to
                provide any explanation or reason in support
16              of her summary conclusion that the documents
                are “irrelevant” and unfairly prejudicial.
17
                     To the contrary, the government believes
18              the documents are in fact relevant to the
                charges at issue and tend to demonstrate co-
19              schemer liability. . . .

20              . . . .

21                    Here, without explanation or support,
                the defendant has made sweeping allegations
22              of irrelevance and prejudice to approximately
                14 classes of documents in a case involving a
23              financial fraud scheme. The documents placed
                at issue by the defendant (approximately
24              1,200 pages) consist primarily of bank
                records and other financial documents. There
25              is also a set of phone records. Despite her
                burden, the defendant failed to provide the
26              Court    with any   information   as  to  the
                inadmissibility    or   prejudice    of   any
27              individual document, let alone the broad
                classes of documents she now seeks to
28              exclude.
                                          9
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1                     At    this    point,    the  Court   lacks
                 sufficient    information    to  exercise   its
2                discretion whether to admit or exclude
                 evidence. Without more information, the Court
3                simply cannot make the ruling requested by
                 the    defendant    and    risks  abusing   its
4                discretion. As such, the defendant‟s motion
                 should    be   denied.    At   a minimum,   the
5                government asks the Court to defer ruling as
                 to the relevance and admissibility of these
6                documents until they are presented in context
                 during trial.
7

8    (Id. at 1:21-2:22.)

9                In light of the government‟s response and the vagueness

10   of   the    motion,   this   motion   has   not   been   stated    with   the

11   specificity required for a pre-trial in limine ruling.

12               Loudermilk also requests the Court “take the motion

13   under submission pending presentation of the foundational and

14   relational testimony.” (Loudermilk Reply 2:17-19, 4:13-15, ECF

15   No. 151.) This request is denied.

16   Dated:     March 2, 2015

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